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 VIA ECF
 Hon. William F. Kuntz II
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re: Alleyne v. P.O. Rahman, et al., 15 CV 1860 (WFK)(VMS)

 Your Honor:

       I represent the plaintiff in the above-referenced matter. Plaintiff writes to

 request a seven (7) day extension of time from November 6, 2017 to November

 13, to serve his opposition to defendants’ motion for summary judgment. This

 is plaintiff’s first request for an extension.

       Should the Court grant this request, Plaintiff proposes the following

 revision to the briefing schedule: Plaintiff shall serve his opposition on or before

 November 13, and defendants shall serve their reply, and file all motion papers

 and provide courtesy copies to the Court on or before December 11.




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       I thank the Court for consideration of this request.



                                                   Sincerely,

                                                   /s
                                                   Robert Marinelli

 cc: Alex Noble, Esq.




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